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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     HADONA DIEP, et al.,                               Case No. 21-cv-10063-PJH
                                                        Plaintiffs,
                                   8
                                                                                            ORDER DISMISSING CLAIMS 4, 5,
                                                 v.                                         AND 9 WITHOUT PREJUIDCE
                                   9

                                  10     APPLE INC,                                         Re: Dkt. No. 63
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On September 2, 2022, this court dismissed all claims brought by plaintiffs in this action.

                                  14   Dkt. 54. In relevant part, the court dismissed Claims 4, 5, and 9 for violation of California’s

                                  15   Unfair Competition Law, violation of California’s Legal Remedies Act, and liability under

                                  16   Maryland’s Consumer Protection Act with prejudice. Plaintiffs appealed the order. Dkt. 56.

                                  17          On March 27, 2024, the United States Court of Appeals for the Ninth Circuit issued its

                                  18   decision on plaintiffs’ appeal. Dkt. 62. In its decision, the Ninth Circuit affirmed this court’s

                                  19   order dismissing certain of plaintiffs’ claims and vacated the dismissal of Claims 4, 5, and 9 to the

                                  20   extent they were dismissed with prejudice. The Ninth Circuit instructed this court to grant

                                  21   plaintiffs leave to amend as to those claims.

                                  22          On April 18, 2024, the Ninth Circuit entered the mandate on its decision. Dkt. 63.

                                  23   Accordingly, this court DISMISSES Claims 4, 5, and 9 without prejudice.

                                  24          Within 28 days of this order, plaintiffs may file an amended complaint alleging additional

                                  25   facts in support of those claims, as discussed in the Ninth Circuit’s decision. Plaintiffs may not

                                  26   amend or add any other claim. In the event plaintiffs file an amended complaint, the court orders

                                  27   that plaintiffs also provide a redline clearly showing all changes between the newly-filed

                                  28   complaint and the previously-filed First Amended Complaint (Dkt. 33). Plaintiffs should file the
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                                   1   redline document as a separate docket entry.

                                   2          IT IS SO ORDERED.

                                   3   Dated: April 19, 2024

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                                   5                                                       /s/ Phyllis J. Hamilton
                                                                                          PHYLLIS J. HAMILTON
                                   6                                                      United States District Judge
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Northern District of California
 United States District Court




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